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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

SESE Bes Declaration Of Attorney General
Petitioner, Pamela J. Bondi
V. No. 1:25-cv-766 (JEB)

DONALD J. TRUMP, et al.,

Respondents.

DECLARATION OF ATTORNEY GENERAL PAMELA J. BONDI
I, Pamela J. Bondi, pursuant to 28 U.S.C. § 1746, declare under penalty of perjury as

follows:

1. I am the United States Attorney General and the head of the United States
Department of Justice, an Executive Department of the United States. See 28 U.S.C. §§ 501, 503.
As Attorney General, I advise the heads of other executive departments on questions of law. See
28 US.C. § 312.

2. The purpose of this Declaration is to protect the national security and foreign
affairs interests of the United States by joining, in my official capacity, the formal assertions of
the state secrets privilege over information requested by this Court in its Minute Order of March
18, 2025, made by the Secretary of State and the Secretary of Homeland Security.

3. The statements made herein are based on my personal knowledge, on information
provided to me in my official capacity, including declarations made by the Secretary of State and
the Secretary of Homeland Security, on reasonable inquiry, and on information obtained from

Department of Justice employees.
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4. Following the public issuance of the Presidential Proclamation, Invocation of the
Alien Enemies Act Regarding the Invasion of The United States by Tren De Aragua, on March
15, 2025, the Department of Homeland Security successfully removed by aircraft a number of
aliens subject to that Proclamation. Those removals were facilitated by Department of State
negotiations with foreign countries.

5. In a March 18, 2025 Minute Order, this Court requested the following information
regarding those removals: (1) what time the planes took off and from where; (2) what time the
planes left U.S. airspace; (3) what time the planes landed, where they landed, and whether they
made more than one stop; (4) what time aliens subject to the Proclamation were transferred out
of U.S. custody; and (5) how many aliens were aboard the flights based on the Proclamation.

6. The Secretary of State and the Secretary of Homeland Security have each
submitted a declaration asserting a formal claim of the state secrets privilege regarding
disclosure of the information sought in the March 18, 2025 Minute Order. Those declarations
reflect the studied and well-supported conclusion of each Secretary that disclosure of the
information, even ex parte and in camera, would cause significant harm to the foreign relations

and national security interests of the United States.
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ee After considering all relevant information, including the declarations of the
Secretary of State and the Secretary of Homeland Security, and following an independent legal
review by Department of Justice personnel, I am satisfied that the assertions of the state secrets
privilege by the Secretary of State and the Secretary of Homeland Security regarding information
requested in the Court’s March 18, 2025 Minute Order are adequately supported and warranted,
and I join their assertion of the privilege.

I declare under penalty of perjury pursuant to 28 U.S.C. § 1746 that the foregoing is true and

correct.

Pamela J. Bordi
Attorney General

Executed this 24th day of March 2025.

